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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY



   In re: Effexor XR Antitrust Litigation
                                            Lead case: 3:11-cv-05479-PGS-LHG
   This document relates to:

   All actions



                 NOTICE OF PLAINTIFFS’ MOTION TO COMPEL


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        PLEASE TAKE NOTICE that on May 6, 2019, or such other date as the

  Court shall determine, the undersigned, counsel for the Plaintiffs in the above-

  captioned litigation will move for an Order compelling Zydus Pharmaceuticals
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  (USA) Inc. and Cadila Healthcare Limited (together, “Zydus”) to produce certain

  categories of documents in response to Plaintiffs’ subpoena to Zydus.

        PLEASE TAKE FURTHER NOTICE that in support of the motion,

  Plaintiffs will rely upon the Memorandum of Law in Support of Plaintiffs’ Motion

  to Compel Zydus Pharmaceuticals U.S.A. and Cadila Healthcare Limited to Produce

  Documents and Declaration of A. Luke Smith in Support of Plaintiffs’ Motion to

  Compel Zydus Pharmaceuticals U.S.A. and Cadila Healthcare Limited to Produce

  Documents (and the exhibits thereto), submitted herewith.



        Dated: March 27, 2019           Respectfully submitted,

                                        /s/ Matthew F. Gately
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